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 8
 9                              UNITED STATES DISTRICT COURT
10                             NORTHERN DISTRICT OF CALIFORNIA
11   ADOBE SYSTEMS INCORPORATED, a              Case No.: 5:15-cv-05038
     Delaware Corporation,
12                                              COMPLAINT FOR DAMAGES:
                  Plaintiff,
13                                              (1) FEDERAL TRADEMARK
           v.                                       INFRINGEMENT [15 U.S.C. § 1114 /
14                                                  Lanham Act §32(a)];
     LAST CHANCE BUYS, INC., a Florida          (2) FALSE DESIGNATION OF ORIGIN
15   Corporation; OLUWATOSIN AJIBOYE a/k/a          / FALSE OR MISLEADING
     ZOE AJIBOYE a/k/a ZOE AERIN, an                ADVERTISING / UNFAIR
16   Individual; and DOES 1-10, Inclusive,          COMPETITION [15 U.S.C. §1125(a) /
17                                                  Lanham Act §43(a)];
                  Defendants.                   (3) TRADEMARK DILUTION [15 U.S.C.
18                                                  §1125(c)];
                                                (4) FEDERAL COPYRIGHT
19                                                  INFRINGEMENT [17 U.S.C.
                                                    §501(a)];
20                                              (5) UNLAWFUL / UNFAIR /
                                                    FRAUDULENT BUSINESS
21                                                  PRACTICES [California Business &
                                                    Professions Code §17200]; and
22                                              (6) BREACH OF CONTRACT
                                                    [California Common Law]
23
                                                [DEMAND FOR JURY TRIAL]
24
25         COMES NOW, Plaintiff ADOBE SYSTEMS INCORPORATED hereby files its

26   Complaint for Damages against Defendants LAST CHANCE BUYS, INC., OLUWATOSIN

27   AJIBOYE a/k/a ZOE AJIBOYE a/k/a ZOE AERIN and DOES 1-10, inclusive (collectively

28   “Defendants”).

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 1                                                PARTIES
 2          1.      Plaintiff ADOBE SYSTEMS INCORPORATED (hereinafter “Plaintiff” or
 3   “Adobe”) is now, and was at the time of the filing of this Complaint and at all intervening times,
 4   a corporation duly organized and existing under the laws of the State of Delaware, having its
 5   principal place of business in San Jose, California.
 6          2.      Plaintiff is informed and believes that Defendant LAST CHANCE BUYS, INC.
 7   (hereinafter “LCB”) is now, and was at the time of the filing of this Complaint and at all
 8   intervening times, a corporation duly organized and existing under the laws of the State of
 9   Florida with its principal place of business in Beverly Hills, California.
10          3.      Plaintiff is informed and believes that, at the time of its creation, now, and at all
11   times relevant to this Complaint, Defendant LCB did not and does not have sufficient funding to
12   assume responsibility for its foreseeable and actual liabilities.
13          4.      Plaintiff is informed and believes that since the time of its creation, now, and at
14   all times relevant to this Complaint, Defendant LCB was undercapitalized.
15          5.      Plaintiff is informed and believes that since the time of its creation, now, and at
16   all times relevant to this Complaint, Defendant LCB has failed to observe corporate formalities
17   required by law.
18          6.      Plaintiff is informed and believes that Defendant OLUWATOSIN AJIBOYE
19   a/k/a ZOE AJIBOYE a/k/a ZOE AERIN (hereinafter “AJIBOYE”) is an Individual residing in
20   Santa Clarita, California. Plaintiff is informed and believes that Defendant AJIBOYE is an
21   owner, operator and director of Defendant LCB. Plaintiff is informed and believes that
22   Defendant AJIBOYE supervised, monitored, directed, authorized and ratified the actions of
23   Defendant LCB complained of herein.
24          7.      The true names and capacities, whether individual, corporate, associate or
25   otherwise, of Defendants herein named as DOES 1-10, inclusive, are unknown to Plaintiff.
26   Plaintiff therefore sues said Defendants by such fictitious names. When the true names and
27   capacities of said Defendants have been ascertained, Plaintiff will amend this pleading
28   accordingly.

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 1          8.      Plaintiff further alleges that Defendants LCB, AJIBOYE, and DOES 1-10,
 2   inclusive, sued herein by fictitious names, are jointly, severally and concurrently liable and
 3   responsible with the named Defendants upon the causes of action hereinafter set forth.
 4          9.      Plaintiff is informed and believes and thereon alleges that at all times mentioned
 5   herein Defendants LCB and DOES 1-10, inclusive, and each of them, were the agents, servants
 6   and employees of every other Defendant and the acts of each Defendant, as alleged herein, were
 7   performed within the course and scope of that agency, service or employment.
 8                                             JURISDICTION
 9          10.     This Court has federal subject matter jurisdiction over this matter pursuant to 28
10   U.S.C. §§1331 and 1338 (a) and (b), in that the case arises out of claims for trademark
11   infringement, false designation of origin / false or misleading advertising / unfair competition,
12   and dilution under the Lanham Act (15 U.S.C. §1051 et seq.), and copyright infringement under
13   17 U.S.C. §501(a). This Court has supplemental jurisdiction pursuant to 28 U.S.C. §§1367(a)
14   and 1338 (a) and (b).
15          11.     Venue is proper, inter alia, pursuant to 28 U.S.C. §1391(b), because on
16   information and belief, a substantial part of the events or omissions giving rise to the claim
17   occurred in this judicial district and has caused damages to Plaintiff in this district.
18          12.     Personal jurisdiction exists over Defendants because on information and belief,
19   Defendants reside in California, conduct business in California and in this judicial district, have
20   purposefully directed action to California and this judicial district, and/or have otherwise availed
21   themselves of the privileges and protections of the laws of the State of California, such that this
22   Court’s assertion of jurisdiction over Defendants does not offend traditional notions of fair play
23   and due process.
24          13.     This Court has personal jurisdiction over Defendants because Defendants have
25   committed acts of infringement and unfair competition in this district and/or Defendants have
26   sufficient minimum contacts with this district such that the exercise of jurisdiction over
27   Defendants by this Court does not offend traditional notions of fair play and substantial justice.
28   Among other things, Defendants have advertised, offered to sell and sold unauthorized and/or

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 1   counterfeit software products that infringe the trademarks and copyrights of Plaintiff using an
 2   interactive Internet website and knowing or having reason to know that consumers throughout
 3   the United States, including within this judicial district, would purchase said unauthorized and/or
 4   counterfeit goods from Defendants, believing them to be authorized goods manufactured and
 5   distributed by Plaintiff or its authorized distributors.
 6            14.    Moreover, Defendant LCB entered into an Adobe Partner Connection Program
 7   Reseller Agreement (“APCPRA”) with Plaintiff as part of Plaintiff’s Adobe Partner Connection
 8   Reseller Program. Through the APCPRA, the Parties contractually consented to jurisdiction and
 9   venue in the Northern District of California.
10                                   INTRADISTRICT ASSIGNMENT
11            15.    Pursuant to Rule 3-2(c) of the Local Rules of Practice in Civil Proceedings before
12   the United States District Court for the Northern District of California (“Civil L.R.”) and the
13   Court’s Assignment Plan, this is an Intellectual Property Action to be assigned on a district-wide
14   basis.
15            16.    Assignment to the San Jose Division would nonetheless be appropriate, pursuant
16   to Civil L.R. 3-2(e), because a substantial part of the events that give rise to Plaintiff’s claims
17   against Defendants occurred in Santa Clara County, California, where Plaintiff’s principal place
18   of business is located.
19                                      GENERAL ALLEGATIONS
20                        Plaintiff and its Famous ADOBE® Software Products
21            17.    Plaintiff is a global leader in developing and distributing innovative computer
22   software. Its products and services offer developers and enterprises tools for creating, managing,
23   delivering and engaging with compelling content across multiple operating systems, devices and
24   media. The software industry is competitive, and Plaintiff undertakes great expense and risk in
25   conceiving, developing, testing, manufacturing, marketing, and delivering its software products
26   to consumers. Software piracy undermines Plaintiff’s investment and creativity, and misleads
27   and confuses consumers.
28

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 1           18.      The success of Plaintiff’s ADOBE®, ACROBAT®, ADOBE AUDITION®,
 2   ADOBE PREMIERE®, AFTER EFFECTS®, CREATIVE CLOUD®, CREATIVE SUITE®,
 3   CS LIVE®, DREAMWEAVER®, ENCORE®, FIREWORKS®, FLASH BUILDER®, FLASH
 4   CATALYST®,          ILLUSTRATOR®,         INDESIGN®,        LIGHTROOM®,         PHOTOSHOP®,
 5   PRELUDE®, SITECATALYST®, SPEEDGRADE® and VERSION CUE® products and
 6   services, among others (collectively referenced and referred to herein as “Adobe-Branded
 7   Software”), is due in part to Plaintiff’s marketing and promotional efforts. These efforts include
 8   advertising and promotion through Plaintiff’s websites, print and other Internet-based advertising,
 9   among other efforts. Plaintiff has spent substantial time, money and effort in building up and
10   developing consumer recognition, awareness and goodwill in its Adobe-Branded Software and
11   the associated marks thereto.
12           19.      The success of the Adobe-Branded Software, and other products and services
13   related thereto, is not due to Plaintiff’s promotional efforts alone. Rather, the popularity of
14   Adobe-Branded Software is also due in part to consumers and the word of mouth buzz
15   consumers have generated.
16           20.      As a result of Plaintiff’s efforts, the quality of Plaintiff’s products, and the
17   promotion and word of mouth buzz, Adobe-Branded Software and the associated marks thereto
18   have been prominently placed in the minds of the public. Consumers, purchasers and members
19   of the public have become familiar with Plaintiff’s software and other products and services and
20   have come to recognize Adobe-Branded Software and the associated marks thereto and associate
21   them exclusively with Plaintiff. Plaintiff has acquired a valuable reputation and goodwill among
22   the public as a result of such association. Indeed, Adobe-Branded Software and the associated
23   marks thereto are famous in the United States and throughout the world and have acquired
24   secondary meaning in the minds of consumers.
25           21.      While Plaintiff has gained significant common law trademark and other rights in
26   its Adobe-Branded Software through its use, advertising and promotion, Plaintiff has also
27   protected its valuable rights by filing for and obtaining federal trademark and copyright
28   registrations.

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 1          22.      Plaintiff has secured registrations for its ADOBE®, ACROBAT®, ADOBE
 2   AUDITION®, ADOBE PREMIERE®, AFTER EFFECTS®, CREATIVE CLOUD®,
 3   CREATIVE SUITE®, CS LIVE®, DREAMWEAVER®, ENCORE®, FIREWORKS®, FLASH
 4   BUILDER®, FLASH CATALYST®, ILLUSTRATOR®, INDESIGN®, LIGHTROOM®,
 5   PHOTOSHOP®, PRELUDE®, SITECATALYST®, SPEEDGRADE®, VERSION CUE® and
 6   various design trademarks, among others, with the United States Patent and Trademark Office.
 7   A non-exhaustive list of Plaintiff’s trademark registrations is attached hereto as Exhibit A
 8   (collectively referenced and referred to herein as “Plaintiff’s Trademarks”).
 9          23.      Similarly, Plaintiff’s Adobe-Branded Software is copyrightable subject matter,
10   and Plaintiff has secured copyright registrations for various versions of its ACROBAT©,
11   AFTER EFFECTS©, AUDITION©, BRIDGE©, CREATIVE SUITE©, DEVICE CENTRAL©,
12   DREAMWEAVER©, ENCORE©, EXTENSION MANAGER©, FIREWORKS©, FLASH
13   PROFESSIONAL©,            FLASH        CATALYST©,           ILLUSTRATOR©,              INDESIGN©,
14   LIGHTROOM©, MEDIA ENCODER©, ONLOCATION©, PHOTOSHOP©, PRELUDE©,
15   PREMIERE©, SPEEDGRADE© and VERSION CUE© software, among others, with the
16   United States Copyright Office. A non-exhaustive list of Plaintiff’s copyright registrations is
17   attached hereto as Exhibit B (collectively referenced and referred to herein as “Plaintiff’s
18   Copyrights”).
19                                   Plaintiff’s Licensing Restrictions
20          24.      As part of its international licensing and distribution programs, Plaintiff imposes
21   various restrictions on the distribution of all ADOBE® software, including Adobe-Branded
22   Software. Every piece of Adobe-Branded Software is licensed. Every distribution agreement
23   entered into by Plaintiff clearly states that all Adobe-Branded Software is subject to a license,
24   and anyone obtaining any Adobe-Branded Software is only granted a license, pursuant to
25   Plaintiff’s Software License Agreement (“SLA”). Plaintiff maintains title to the Adobe-Branded
26   Software at all times and at no point does it transfer any ownership of title. Each and every piece
27   of Adobe-Branded Software is subject to numerous restrictions on use, location of distribution,
28   transfer, and even who is qualified to obtain the product, in certain circumstances.

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 1          25.     One specific type of licensed Adobe-Branded Software is volume-licensed
 2   software. To better serve its organizational clients that require multiple copies of the same
 3   software for multiple users, Plaintiff has developed various programs, including the
 4   Transactional Licensing Program (“TLP”), through which an organization may purchase a piece
 5   of Adobe-Branded Software and activate it on multiple computers, simply paying an additional
 6   fee (often discounted from the full retail price) for each additional license. These licenses,
 7   however, are limited to users or machines within the same organization. These licenses are not to
 8   be sold to individuals.
 9          26.     Academic or Educational (“EDU”) versions of Adobe-Branded Software are
10   offered at a steep discount and are intended only for students or individuals associated with
11   educational institutions. There are restrictions on the number of copies of EDU software one
12   user can acquire, and a customer must provide certain proof of qualification as an EDU software
13   user. EDU software is not intended for general, commercial distribution, and only specified
14   resellers are allowed to distribute EDU software. EDU software may not be resold, pursuant to
15   Plaintiff’s SLA.    EDU software may differ from retail products in functionality, including
16   offering personalized tutorials and instruction.
17          27.     Plaintiff distributes its Adobe-Branded Software through physical products as
18   well as Electronic Software Downloads (“ESD”). A reseller must be specifically authorized by
19   Plaintiff to sell ESD versions of Plaintiff’s software products or else the product is unauthorized.
20                      Plaintiff’s “Adobe Partner Connection Reseller Program”
21          28.     Plaintiff is aware that its customers rely on software resellers to provide them not
22   only with products but also with dependable, reliable and competent advice on the features and
23   benefits of Adobe-Branded Software products and on their specific suitability to address business
24   challenges.
25          29.     Defendant LCB entered into an APCPRA with Plaintiff as part of Plaintiff’s
26   Adobe Partner Connection Reseller Program. A true and correct copy of the confidential terms of
27   the APCPRA between Plaintiff and LCB will be attached hereto as Exhibit C upon the Court’s
28   granting of an order to file under seal.

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 1          30.     LCB has breached the terms of the APCPRA by: (i) ordering Adobe-Branded
 2   Software products from unauthorized distributers; (ii) offering for sale, selling, and distributing
 3   unauthorized TLP software licenses; (iii) offering for sale, selling, and distributing licenses for
 4   counterfeit and/or unauthorized EDU software products; and (iv) offering for sale, selling, and
 5   distributing ESD products without a license.
 6          31.     On October 8, 2015, LCB’s APCPRA with Adobe was terminated due to LCB’s
 7   infringing conduct and breach of the terms of the APCPRA.
 8                           Defendants’ Wrongful and Infringing Conduct
 9          32.     Particularly in light of the success of Plaintiff and Plaintiff’s products as well as
10   the reputation they have gained, Plaintiff and its well-recognized products have become targets
11   for unscrupulous individuals and entities who wish to take a free ride on the goodwill, reputation
12   and fame Plaintiff has spent considerable effort to build up in its products and marks and the
13   works embodied in Plaintiff’s software products.
14          33.     A large number of individuals and entities deal in unauthorized, pirated and/or
15   counterfeit Adobe-Branded Software products and other products and services, including but not
16   limited to the famous ADOBE®, ACROBAT®, ADOBE AUDITION®, ADOBE PREMIERE®,
17   AFTER EFFECTS®, BRIDGE©, CREATIVE CLOUD®, CREATIVE SUITE®, CS LIVE®,
18   DEVICE CENTRAL©, DREAMWEAVER®, ENCORE®, EXTENSION MANAGER©,
19   FIREWORKS®, FLASH BUILDER®, FLASH CATALYST®, FLASH PROFESSIONAL©,
20   ILLUSTRATOR®, INDESIGN®, LIGHTROOM®, MEDIA ENCODER©, ONLOCATION©,
21   PHOTOSHOP®, PRELUDE®, SITECATALYST®, SPEEDGRADE®, and VERSION CUE®
22   products.    Their actions vary and include manufacturing, copying, exporting, importing,
23   advertising, promoting, selling, and distributing counterfeit and/or otherwise unauthorized
24   Adobe-Branded Software products.
25          34.     Plaintiff investigates and enforces against such activity and through such efforts
26   learned of Defendants and Defendants’ actions advertising, importing, exporting, selling and/or
27   distributing infringing Adobe-Branded Software products within the United States. Defendants
28   own and operate an interactive Internet website located at www.lastchancebuys.com (referenced

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 1   and referred to herein as the “Website”), offering for sale various software products, including
 2   altered, unauthorized and/or counterfeit Adobe-Branded Software products. Defendants have
 3   also used eBay, exporters.sg and/or other online platforms to advertise and/or distribute their
 4   unauthorized Adobe-Branded Software products.
 5          35.     Plaintiff has never authorized or consented to Defendants’ use of Plaintiff’s
 6   Trademarks, or any confusingly similar mark, or Plaintiff’s Copyrights outside of the use
 7   allowed in the APCPRA and SLA. Specifically, Plaintiff has never authorized Defendants to
 8   manufacture, copy, unbundle, or alter any of Plaintiff’s Copyrights or use any of Plaintiff’s
 9   Trademarks on or in connection with such manufactured, copied, unbundled, or altered Adobe-
10   Branded Software.
11          36.     Defendants offer for sale, sell, and/or distribute counterfeit copies of Adobe-
12   Branded Software. Defendants are not authorized under either the APCPRA or the SLA to
13   manufacture copies of Adobe-Branded Software or to use Plaintiff’s Trademarks or Copyrights
14   in connection with products not specifically manufactured by Plaintiff or one of its licensees.
15          37.     Defendants offer for sale, sell, and/or distribute TLP copies of Adobe-Branded
16   Software outside of the licensing restrictions on TLP products. Specifically, Defendants have
17   sold and/or distributed TLP products to individuals who are not qualified to purchase TLP
18   versions of Adobe-Branded Software. Defendants have also sold and/or distributed the TLP
19   serial numbers for Adobe-Branded Software that have already been registered to other
20   unaffiliated users.
21          38.     Defendants are not authorized distributors and/or resellers of EDU copies of
22   Adobe-Branded Software, nor does the APCPRA or the SLA grant Defendants such right.
23   Defendants offer for sale, sell, and/or distribute unauthorized EDU copies of Adobe-Branded
24   Software, without a license and outside of the scope of Plaintiff’s licensing restrictions, to
25   resellers and end users in the United States and within this judicial district.
26          39.     Defendants are not authorized distributors and/or resellers of ESD copies of
27   Adobe-Branded Software, nor does the APCPRA or the SLA grant Defendants said right.
28

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 1   Defendants offer for sale, sell, and/or distribute ESD copies of Adobe-Branded Software,
 2   without a license, to resellers and end users in the United States and within this judicial district.
 3          40.        On or about December 5, 2013, Plaintiff’s investigator purchased a purported
 4   “ADOBE ACROBAT X PROFESSIONAL – PC” from Defendants’ website located at
 5   www.lastchancebuys.com for a cost of $198.95. On or about December 18, 2013, Plaintiff’s
 6   investigator received a package pursuant to this order with a return address of “LAST CHANCE
 7   BUYS, 8484 WILSHIRE BLVD STE 515, BEVERLY HILLS CA 90211-3235.” The package
 8   contained a copy of Adobe Acrobat X Professional.
 9          41.        Plaintiff has confirmed that the Adobe-Branded Software disc provided by
10   Defendants pursuant to the December 5, 2013, order, is counterfeit and was not manufactured or
11   authorized to be manufactured by Plaintiff. Additionally, the serial number affixed to the
12   counterfeit product was for a stolen EDU TLP serial number that had already been registered
13   multiple times by various users unaffiliated with Plaintiff’s investigator or the original licensee
14   of the product.
15          42.        On or about August 21, 2015, Plaintiff’s investigator made a subsequent purchase
16   from Defendants’ website located at www.lastchancebuys.com for a purported “ADOBE
17   CREATIVE SUITE (CS) 6 DESIGN & WEB PREMIUM – MAC” for $789.95. On or about
18   August 27, 2015, Plaintiff received a package pursuant to this order with a return address of
19   “LAST CHANCE BUYS, 8484 WILSHIRE BLVD STE 515, BEVERLY HILLS CA 90211-
20   3235.” The package contained a copy of Adobe Creative Suite 6 Design & Web Premium.
21          43.        Plaintiff has confirmed that the Adobe-Branded Software disc provided by
22   Defendants pursuant to the August 21, 2015, order, is counterfeit and was not manufactured or
23   authorized to be manufactured by Plaintiff. Additionally, the serial number affixed to the
24   counterfeit product was for another stolen EDU TLP serial number that had already been
25   registered multiple times by various users unaffiliated with Plaintiff’s investigator or the original
26   licensee of the product.
27          44.        It has thus become apparent to Plaintiff, upon information and belief, that
28   Defendants are engaged in an ongoing piratical concern whose primary business consists of

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 1   systematically infringing upon Plaintiff’s Trademarks and Copyrights in order to generate
 2   substantial illegal revenues. Indeed, on information and belief, Defendants sought a reseller
 3   designation for LCB from Plaintiff through the negotiation of an APCPRA while engaged in
 4   activities infringing upon Plaintiff’s intellectual property rights, for the purpose of appearing
 5   legitimate to consumers despite said ongoing and willful infringing activities, and without any
 6   intention of abiding by the reseller agreement.
 7          45.     By these sales and on information and belief, Defendants have imported,
 8   advertised, marketed, offered for sale, sold and distributed numerous counterfeit and/or
 9   unauthorized Adobe-Branded Software products that infringe on Plaintiff’s Trademarks and
10   Copyrights, resulting in thousands if not millions of dollars in ill-begotten gains from Defendants’
11   infringement. Defendants’ other numerous dealings in counterfeit and/or unauthorized product
12   (including importing, advertising, displaying, distributing, selling and/or offering to sell
13   counterfeit and/or unauthorized product) violate Plaintiff’s exclusive rights in Plaintiff’s
14   Copyrights and use images and marks that are confusingly similar to, identical to, and/or
15   constitute counterfeit reproductions of Plaintiff’s Trademarks to confuse consumers and aid in
16   the promotion and sales of Defendants’ unauthorized product.
17          46.     Defendants’ conduct and use began long after Plaintiff’s adoption and use of its
18   ADOBE®, ACROBAT®, ADOBE AUDITION®, ADOBE PREMIERE®, AFTER EFFECTS®,
19   BRIDGE©, CREATIVE CLOUD®, CREATIVE SUITE®, CS LIVE®, DEVICE CENTRAL©,
20   DREAMWEAVER®, ENCORE®, EXTENSION MANAGER©, FIREWORKS®, FLASH
21   BUILDER®, FLASH CATALYST®, FLASH PROFESSIONAL©, ILLUSTRATOR®,
22   INDESIGN®, LIGHTROOM®, MEDIA ENCODER©, ONLOCATION©, PHOTOSHOP®,
23   PRELUDE®, SITECATALYST®, SPEEDGRADE®, VERSION CUE® and various design
24   trademarks, after Plaintiff obtained the copyright and trademark registrations alleged above, and
25   after Plaintiff’s Trademarks became famous. Indeed, Defendants had knowledge of Plaintiff’s
26   ownership of the Trademarks, and of the fame in such Trademarks, prior to the actions alleged
27   herein and adopted them in bad faith and with intent to cause confusion and dilute Plaintiff’s
28   Trademarks. Defendants also had knowledge of Plaintiff’s ownership of its Copyrights and

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 1   copied, imported, offered for sale, sold, and/or distributed unauthorized copies of the Copyrights
 2   in order to illegally profit from Plaintiff’s Copyrights.
 3          47.     Defendants’ actions were committed with full knowledge that their conduct
 4   constituted infringement of Plaintiff’s Trademarks and Copyrights. On information and belief,
 5   Defendants were informed by their customers on numerous occasions that Defendants’ products
 6   were unauthorized and that Defendants’ resellers were being sued by Plaintiff for trademark and
 7   copyright infringement.
 8          48.     Defendants’ actions were committed in bad faith and with the intent to dilute
 9   Plaintiff’s Trademarks, and to cause confusion, mistake or to deceive the consuming public and
10   the public at large as to the source, sponsorship and/or affiliation of Defendants and/or
11   Defendants’ counterfeit and unauthorized goods. By their wrongful conduct, Defendants have
12   traded upon and diminished Plaintiff’s goodwill.
13          49.     In committing these acts, Defendants have, among other things, willfully and in
14   bad faith committed the following, all of which has and will continue to cause irreparable harm
15   to Plaintiff: (i) infringed and diluted Plaintiff’s rights in Plaintiff’s Trademarks; (ii) infringed
16   Plaintiff’s Copyrights; (iii) applied counterfeit marks; (iv) misled the public into believing there
17   is an association or connection between Defendants and Plaintiff and/or the products advertised
18   and sold by Defendants and Plaintiff; (v) used false designations of origin on or in connection
19   with its goods and services; (vi) committed unfair competition; and (vii) unfairly profited from
20   such activity. Unless enjoined, Defendants will continue to cause irreparable harm to Plaintiffs.
21                                       FIRST CAUSE OF ACTION
22      (Infringement of Registered Trademarks Against Defendants LAST CHANCE BUYS,
23    INC., OLUWATOSIN AJIBOYE a/k/a ZOE AJIBOYE a/k/a ZOE AERIN and DOES 1-
24                                               10, Inclusive)
25                                  [15 U.S.C. §1114/Lanham Act §32(a)]
26          50.     Plaintiff repeats and re-alleges every allegation set forth in Paragraphs 1-49.
27          51.     Plaintiff has continuously used Plaintiff’s Trademarks in interstate commerce
28   since at least as early as 1993.

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 1          52.     Plaintiff, as the owner of all right, title and interest in and to Plaintiff’s
 2   Trademarks, has standing to maintain an action for trademark infringement under the Trademark
 3   Statute, 15 U.S.C. §1114.
 4          53.     Defendants are, and at the time of their actions complained of herein were,
 5   actually aware that Plaintiff is the registered trademark holder of Plaintiff’s Trademarks (see
 6   non-exhaustive list of Plaintiff’s trademark registrations attached hereto as Exhibit A).
 7          54.     Defendants did not and failed to obtain the consent or authorization of Plaintiff as
 8   the registered owner of Plaintiff’s Trademarks to deal in and commercially distribute, market and
 9   sell Adobe-Branded Software products bearing Plaintiff’s Trademarks into the stream of
10   commerce.
11          55.     Defendants intentionally and knowingly used in commerce the reproductions,
12   counterfeits, copies, and/or colorable imitations of Plaintiff’s registered marks in connection with
13   the sale, offering for sale, and/or distribution of Defendant’s software products by importing,
14   offering, advertising, promoting, retailing, selling, and/or distributing counterfeit and/or
15   unauthorized copies of Adobe-Branded Software bearing Plaintiff’s Trademarks.
16          56.     Defendants reproduced, counterfeited, copied, and colorably imitated Plaintiff’s
17   Trademarks and applied such reproductions, counterfeits, copies, or colorable imitations to
18   labels, signs, prints, packages, wrappers, receptacles and/or advertisements intended to be used
19   in commerce upon or in connection with the sale, offering for sale, distribution and/or
20   advertising of goods. Defendants thereupon imported, offered, advertised, promoted, retailed,
21   sold, and/or distributed counterfeit and/or unauthorized Adobe-Branded Software bearing
22   Plaintiff’s Trademarks.
23          57.     Defendants’ egregious and intentional use and sale of counterfeit and/or
24   unauthorized items bearing Plaintiff’s Trademarks is likely to cause confusion or mistake, or to
25   deceive, mislead, betray, and defraud consumers who believe that items being offered for sale by
26   Defendants are authorized products manufactured and distributed by Plaintiff.
27          58.     Defendants’ acts have been committed with knowledge of Plaintiff’s exclusive
28   rights and goodwill in Plaintiff’s Trademarks. Defendants’ acts have been committed with

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 1   knowledge that their conduct infringes Plaintiff’s rights in Plaintiff’s Trademarks. Defendants
 2   have acted willfully, in bad faith, and with the intent to cause confusion, mistake or to deceive.
 3          59.     Plaintiff has suffered and will continue to suffer substantial and irreparable injury,
 4   loss and damage to its rights in and to Plaintiff’s Trademarks and the goodwill associated
 5   therewith, for which it has no adequate remedy at law. Thus, Plaintiff requests injunctive relief,
 6   including but not limited to preliminary relief.
 7          60.     Defendants’ continued and knowing use of Plaintiff’s Trademarks without
 8   Plaintiff’s consent or authorization constitutes intentional infringement of Plaintiff’s federally
 9   registered trademarks in violation of Section 32 of the Lanham Act, 15 U.S.C. §1114. Based on
10   such conduct, Plaintiff is entitled to injunctive relief as well as monetary damages and other
11   remedies provided by sections 1116, 1117, and 1118, including Defendants’ profits, treble
12   damages, reasonable attorneys’ fees, costs and prejudgment interest.
13                                    SECOND CAUSE OF ACTION
14       (False Designation of Origin / False or Misleading Advertising / Unfair Competition
15    Against Defendants LAST CHANCE BUYS, INC., OLUWATOSIN AJIBOYE a/k/a ZOE
16                      AJIBOYE a/k/a ZOE AERIN and DOES 1-10, Inclusive)
17                               [15 U.S.C. §1125(a)/Lanham Act §43(a)]
18          61.     Plaintiff repeats and re-alleges every allegation set forth in Paragraphs 1-60.
19          62.     Plaintiff, as the owner of all common law right, title, and interest in and to
20   Plaintiff’s Trademarks, has standing to maintain an action for false designation of origin and
21   unfair competition under the Federal Trademark Statute, Lanham Act §43(a) (15 U.S.C. §1125).
22   Plaintiff’s Trademarks are inherently distinctive and/or have acquired distinctiveness.
23          63.     Defendants have, without authorization, on or in connection with their goods and
24   services, used in commerce marks that are confusingly similar to Plaintiff’s Trademarks and/or
25   have made false designations of origin which are likely to cause confusion, mistake or to deceive
26   as to the affiliation, connection or association of Defendants with Plaintiff and/or as to the origin,
27   sponsorship or approval of Defendants’ goods or services or commercial activities.
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 1           64.     Defendants’ conduct described above violates the Lanham Act, and Defendants
 2   have unfairly competed with and injured Plaintiff and, unless immediately restrained, will
 3   continue to injure Plaintiff, causing damage to Plaintiff in an amount to be determined at trial.
 4   Defendants’ actions are causing and will continue to cause irreparable injury to Plaintiff’s
 5   goodwill and reputation associated with the value of Plaintiff’s Trademarks.
 6           65.     On information and belief, the conduct of Defendants has been knowing,
 7   deliberate, willful, and intended to cause confusion, mistake or deception, all in blatant disregard
 8   of Plaintiff’s rights.
 9           66.     Defendants knew or, by the exercise of reasonable care, should have known that
10   their adoption and commencement of use in commerce and continuing use of marks that are
11   confusingly similar to and constitute a counterfeit reproduction of Plaintiff’s Trademarks would
12   cause confusion, mistake, or deception among purchasers, users and the public.
13           67.     Defendants’ egregious and intentional use and sale of counterfeit and/or
14   unauthorized software bearing Plaintiff’s Trademarks unfairly competes with Plaintiff and is
15   likely to cause confusion, mistake or to deceive, mislead, betray, and defraud consumers to
16   believe that Defendants’ unauthorized products are genuine, authorized Adobe-Branded
17   Software.
18           68.     Defendants’ continuing and knowing use of Plaintiff’s Trademarks constitutes
19   false designation of origin and unfair competition in violation of Section 43(a) of the Lanham
20   Act, 15 U.S.C. §1125(a), causing Plaintiff to suffer substantial and irreparable injury for which it
21   has no adequate remedy at law.
22           69.     Defendants’ wrongful conduct has permitted or will permit them to make
23   substantial sales and profits on the strength of Plaintiff’s marketing, advertising, sales and
24   consumer recognition. As a direct and proximate result of Defendants’ wrongful conduct, as
25   alleged herein, Plaintiff has been and will be deprived of sales of its products in an amount as yet
26   unknown but to be determined at trial, and has been deprived and will be deprived of the value of
27   its marks as commercial assets in an amount as yet unknown but to be determined at trial.
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 1   Plaintiff seeks an accounting of Defendants’ profits and requests that the Court grant Plaintiff
 2   three times that amount in the Court’s discretion.
 3          70.     Based on Defendants’ wrongful conduct, Plaintiff is entitled to injunctive relief,
 4   including but not limited to preliminary relief, as well as monetary damages and other remedies
 5   as provided by the Lanham Act, including Defendants’ profits, treble damages, reasonable
 6   attorneys’ fees, costs and prejudgment interest.
 7                                    THIRD CAUSE OF ACTION
 8     (Dilution Against Defendants LAST CHANCE BUYS, INC., OLUWATOSIN AJIBOYE
 9                a/k/a ZOE AJIBOYE a/k/a ZOE AERIN and DOES 1-10, Inclusive)
10                                          [15 U.S.C. §1125(c)]
11          71.     Plaintiff repeats and re-alleges every allegation set forth in Paragraphs 1-70.
12          72.     Plaintiff’s Trademarks are distinctive and famous within the meaning of the
13   Lanham Act.
14          73.     Upon information and belief, Defendants’ unlawful actions began long after
15   Plaintiff’s Trademarks became famous, and Defendants acted knowingly, deliberately and
16   willfully with the intent to trade on Plaintiff’s reputation and to dilute or tarnish Plaintiff’s
17   Trademarks. Defendants’ conduct is willful, wanton and egregious.
18          74.     Defendants’ intentional sale of counterfeit and/or unauthorized software bearing
19   Plaintiff’s Trademarks is likely to cause confusion, mistake, or to deceive, mislead, betray, and
20   defraud consumers to believe that Defendants’ substandard and/or limited software are
21   authorized, full retail versions of Adobe-Branded Software. The actions of Defendants
22   complained of herein have diluted and will continue to dilute Plaintiff’s Trademarks and are
23   likely to impair the distinctiveness, strength and value of Plaintiff’s Trademarks and injure the
24   business reputation of Plaintiff and its marks.
25          75.     Defendants’ acts have caused and will continue to cause Plaintiff irreparable
26   harm. Plaintiff has no adequate remedy at law to compensate it fully for the damages that have
27   been caused and which will continue to be caused by Defendants’ unlawful acts, unless they are
28   enjoined by this Court.

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 1          76.     As the acts alleged herein constitute a willful violation of section 43(c) of the
 2   Lanham Act, 15 U.S.C. §1125(c), Plaintiff is entitled to injunctive relief, including but not
 3   limited to preliminary relief, as well as monetary damages and other remedies provided by 15
 4   U.S.C. §§1116, 1117, 1118, and 1125(c), including Defendants’ profits, treble damages,
 5   reasonable attorney’s fees, costs and prejudgment interest.
 6                                   FOURTH CAUSE OF ACTION
 7      (Federal Copyright Infringement Against Defendants LAST CHANCE BUYS, INC.,
 8      OLUWATOSIN AJIBOYE a/k/a ZOE AJIBOYE a/k/a ZOE AERIN and DOES 1-10,
 9                                               Inclusive)
10                                          [17 U.S.C. §501(a)]
11          77.     Plaintiff repeats and re-alleges every allegation set forth in Paragraphs 1-76.
12          78.     Plaintiff is the exclusive owner of copyrights in the Adobe-Branded Software
13   along with images and other protectable works related thereto and possesses copyright
14   registrations with the United States Copyright Office relating to the same.
15          79.     Defendants did not seek and failed to obtain Plaintiff’s consent or authorization to
16   import, utilize, manufacture, reproduce, copy, display, prepare derivative works, distribute, sell,
17   transfer, rent, perform, and/or market Plaintiff’s copyright-protected materials.
18          80.     Without permission, Defendants intentionally and knowingly reproduced,
19   counterfeited, copied, displayed, manufactured and/or distributed Plaintiff’s protected works by
20   importing, offering, advertising, promoting, retailing and/or selling counterfeit and/or
21   unauthorized Adobe-Branded Software, which are, at a minimum, substantially similar to
22   Plaintiff’s Copyrights (see non-exhaustive list of Plaintiff’s copyright registrations attached
23   hereto as Exhibit B).
24          81.     Defendants’ acts as alleged herein, constitute infringement of Plaintiff’s
25   Copyrights, including Plaintiff’s exclusive rights to reproduce, distribute and/or sell such
26   protected material.
27          82.     Defendants’ knowing and intentional copyright infringement as alleged herein has
28   caused and will continue to cause substantial and irreparable harm to Plaintiff and has and will

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 1   continue to cause damage to Plaintiff. Plaintiff is therefore entitled to injunctive relief, including
 2   but not limited to preliminary relief, as well as damages, Defendants’ profits, increased damages,
 3   and reasonable attorney’s fees and costs.
 4                                     FIFTH CAUSE OF ACTION
 5     (Unlawful, Unfair, Fraudulent Business Practices Against Defendants LAST CHANCE
 6     BUYS, INC., OLUWATOSIN AJIBOYE a/k/a ZOE AJIBOYE a/k/a ZOE AERIN and
 7                                         DOES 1-10, Inclusive)
 8                       [California Business & Professions Code §17200 et seq.]
 9          83.     Plaintiff repeats and re-alleges every allegation set forth in Paragraphs 1-82.
10          84.     By marketing, advertising, promoting, selling and/or otherwise dealing in the
11   counterfeit and/or unauthorized Adobe-Branded Software bearing Plaintiff’s Trademarks,
12   Defendants have engaged in unfair competition including unlawful, unfair and fraudulent
13   business practices in violation of California Business and Professions Code §17200 et seq.
14          85.     Defendants’ marketing, advertising, promoting, selling and/or otherwise dealing
15   in counterfeit and/or unauthorized Adobe-Branded Software is in violation and derogation of
16   Plaintiff’s rights and is likely to cause confusion, mistake and deception among consumers and
17   the public as to the source, origin, sponsorship, or quality of the goods of Defendants, thereby
18   causing loss, damage and injury to Plaintiff and to the purchasing public. Defendants’ conduct
19   was intended to cause such loss, damage and injury.
20          86.     Defendants knew or by the exercise of reasonable care should have known that
21   their marketing, advertising, promoting, selling and/or otherwise dealing in and their continuing
22   marketing, advertising, promoting, selling and/or otherwise dealing in the counterfeit and/or
23   unauthorized product would cause confusion, mistake or deception among purchasers, users and
24   the public.
25          87.     By marketing, advertising, promoting, selling and/or otherwise dealing in and
26   their continuing marketing, advertising, promoting, selling and/or otherwise dealing in
27   counterfeit and/or unauthorized versions of Adobe-Branded Software bearing Plaintiff’s
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 1   Trademarks, Defendants intended to, did and will induce customers to purchase their products by
 2   trading off the extensive goodwill built up by Plaintiff in its marks.
 3             88.   Upon information and belief, the conduct of Defendants has been knowing,
 4   deliberate, willful, and intended to cause confusion, mistake or to deceive, all in blatant disregard
 5   of Plaintiff’s rights.
 6             89.   Defendants’ wrongful conduct, as alleged above, has permitted and will permit
 7   them to make substantial sales and profits on the strength of Plaintiff’s nationwide marketing,
 8   advertising, sales and consumer recognition. As a direct and proximate result of Defendants’
 9   wrongful conduct, as alleged herein, Plaintiff has been and will be deprived of substantial sales
10   of its products in an amount as yet unknown but to be determined at trial, and has been and will
11   be deprived of the value of its trademarks as commercial assets, in an amount as yet unknown
12   but to be determined at trial. Plaintiff seeks restitution in this matter, including an order granting
13   Defendants’ profits stemming from their infringing activity, and Plaintiff’s actual and/or
14   compensatory damages.
15             90.   Plaintiff has no adequate remedy at law for Defendants’ continuing violation of its
16   rights set forth above. Plaintiff seeks injunctive relief, including but not limited to preliminary
17   relief.
18             91.   Plaintiff further requests a court order that an asset freeze or constructive trust be
19   imposed over all monies in Defendants’ possession that rightfully belong to Plaintiff.
20                                     SIXTH CAUSE OF ACTION
21      (Breach of APCPRA Contract Against Defendants LAST CHANCE BUYS, INC., and
22                                         DOES 1-10, Inclusive)
23             92.   Plaintiff repeats and re-alleges every allegation set forth in Paragraphs 1-91.
24             93.   Defendant LCB entered into an APCPRA with Plaintiff as part of Plaintiff’s
25   Adobe Partner Connection Reseller Program. A true and correct copy of the confidential terms of
26   the APCPRA between Plaintiff and LCB will be attached hereto as Exhibit C upon the Court’s
27   granting of an order to file under seal.
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 1          94.      The APCPRA provides clear and concise obligations and limitations regarding the
 2   acquisition, advertising, sale, and distribution of Adobe-Branded Software.
 3          95.      Defendant LCB breached the APCPRA with Plaintiff by ordering Adobe-Branded
 4   Software products from unauthorized distributors; offering for sale, selling, and distributing
 5   licenses for counterfeit and/or unauthorized Adobe-Branded Software products; offering for sale,
 6   selling, and distributing EDU and ESD Adobe-Branded Software products; and offering for sale,
 7   selling, and distributing unauthorized TLP licenses for Adobe-Branded Software products.
 8                                         PRAYER OF RELIEF
 9          WHEREFORE, Plaintiff ADOBE SYSTEMS INCORPORATED prays for judgment
10   against Defendants LAST CHANCE BUYS, INC., OLUWATOSIN AJIBOYE a/k/a ZOE
11   AJIBOYE a/k/a ZOE AERIN and DOES 1-10, inclusive, and each of them, as follows:
12          A. For an award of Defendants’ profits and Plaintiff’s damages in an amount to be
13                proven at trial for trademark infringement under 15 U.S.C. §1114(a);
14          B. For an award of Defendants’ profits and Plaintiff’s damages in an amount to be
15                proven at trial for copyright infringement under 17 U.S.C. §501(a);
16          C. For an award of Defendants’ profits and Plaintiff’s damages in an amount to be
17                proven at trial for false designation of origin and unfair competition under 15 U.S.C.
18                §1125(a);
19          D. For an award of Defendants’ profits and Plaintiff’s damages in an amount to be
20                proven at trial for trademark dilution under 15 U.S.C. §1125(c);
21          E. In the alternative to actual damages and Defendants’ profits for the infringement and
22                counterfeiting of Plaintiff’s trademark pursuant to the Lanham Act, for statutory
23                damages pursuant to 15 U.S.C. §1117(c), which election Plaintiff will make prior to
24                the rendering of final judgment;
25          F. In the alternative to actual damages and Defendants’ profits pursuant to 17 U.S.C.
26                §504(b), for statutory damages pursuant to 17 U.S.C. §504(c), which election Plaintiff
27                will make prior to the rendering of final judgment;
28          G. For restitution in an amount to be proven at trial for unfair, fraudulent and illegal

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 1          business practices under California Business and Professions Code §17200;
 2       H. For consequential and compensatory damages;
 3       I. For damages to proven at trial for breach of the APCPRA contract [as to Defendant
 4          LCB only];
 5       J. For an injunction by this Court prohibiting Defendants from engaging or continuing
 6          to engage in the unlawful, unfair, or fraudulent business acts or practices described
 7          herein, including the advertising and/or dealing in any counterfeit and/or
 8          unauthorized product; the unauthorized use of any mark, copyright or other
 9          intellectual property right of Plaintiff; acts of trademark infringement or dilution; acts
10          of copyright infringement; false designation of origin; unfair competition; and any
11          other act in derogation of Plaintiff’s rights;
12       K. For an order from the Court requiring that Defendants provide complete accountings
13          and for equitable relief, including that Defendants disgorge and return or pay their ill-
14          gotten gains obtained from the illegal transactions entered into and/or pay restitution,
15          including the amount of monies that should have been paid if Defendants complied
16          with their legal obligations, or as equity requires;
17       L. For an order from the Court that an asset freeze or constructive trust be imposed over
18          all monies and profits in Defendants’ possession which rightfully belong to Plaintiff;
19       M. For destruction of the infringing articles in Defendants’ possession under 15 U.S.C.
20          §1118 and 17 U.S.C. §503;
21       N. For treble damages suffered by Plaintiff as a result of the willful and intentional
22          infringements and acts of counterfeiting engaged in by Defendants, under 15 U.S.C.
23          §1117(b);
24       O. For damages in an amount to be proven at trial for unjust enrichment;
25       P. For Plaintiff’s reasonable attorney’s fees;
26       Q. For all costs of suit; and
27       R. For such other and further relief as the Court may deem just and equitable.
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 1                                DEMAND FOR JURY TRIAL
 2           Plaintiff ADOBE SYSTEMS INCORPORATED respectfully demands a trial by jury in
 3   this action.
 4   DATED: November 3, 2015                       JOHNSON & PHAM, LLP
 5
                                                   By: /s/ Christopher Q. Pham, Esq.
 6                                                 Christopher Q. Pham, Esq.
                                                   Nicole L. Drey, Esq.
 7
                                                   Hung Q. Pham, Esq.
 8                                                 Attorneys for Plaintiff
                                                   ADOBE SYSTEMS INCORPORATED
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